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 6
                               UNITED STATES DISTRICT COURT
 7
                             SOUTHERN DISTRICT OF CALIFORNIA
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 9
       UNITED STATES OF AMERICA,
                                                       Case No.: 16cr0833 JM
10
                               Plaintiff,
11           v.
                                                       ORDER AND JUDGMENT TO
                                                       DISMISS WITHOUT PREJUDICE
12     SAMUEL COVARRUBIAS-MAGALLANES,
13                             Defendant.
14

15

16          Upon motion of the United States of America and good cause

17 appearing,

18          IT IS HEREBY ORDERED that the Indictment in the above-entitled

19 case      against   defendant    Samuel    Covarrubias-Magallanes        be   dismissed

20 without prejudice.

21          IT IS SO ORDERED.

22 DATED: November 9, 2016                       __________________________________
                                                 JEFFREY T. MILLER
23                                               United States District Judge

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